                  Case 23-41838
     Fill in this information               Doc
                              to identify your    1
                                               case:    Filed 09/30/23 Entered 09/30/23 15:56:33                              Desc Main
                                                           Document    Page 1 of 7
     United States Bankruptcy Court for the:

     ____________________
     Eastern               District of _________________
             District of Texas         (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                             Chapter 11
                                                             Chapter 12                                                                 Check if this is an
                                                             Chapter 13                                                                    amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         Mordecai   N. Klein, M.D., P.A.
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           d/b/a Harmony Heart Group, a Texas professional association
                                            ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                                 Mailing address, if different from principal place
                                                                                                        of business
                                               4701 Old Shepard Place                                   12700   Preston Road
                                                                                                        _______________________________________________
                                            ______________________________________________
                                            Number     Street                                           Number      Street

                                               Suite 160
                                            ______________________________________________
                                                                                                        P. O. Box 147
                                                                                                        _______________________________________________
                                                                                                        P.O. Box

                                               Plano                       TX      75093
                                            ______________________________________________
                                                                                                        Dallas                     TX      75230
                                                                                                        _______________________________________________
                                            City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Collin County
                                            ______________________________________________
                                            County                                                      _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                 https://harmonyheartgroup.com/
                                            ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
                Case 23-41838           Doc 1         Filed 09/30/23 Entered 09/30/23 15:56:33                             Desc Main
                                                         Document    Page 2 of 7
                Mordecai N. Klein, M.D., P.A.
Debtor          _______________________________________________________                       Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                         
                                         ✔ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            6211
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the             
                                         ✔ Chapter 7
      debtor filing?
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                       MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
               Case 23-41838             Doc 1         Filed 09/30/23 Entered 09/30/23 15:56:33                               Desc Main
                                                          Document    Page 3 of 7
               Mordecai N. Klein, M.D., P.A.
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ✔

                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                                Number       Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________      _______     ________________
                                                                                City                                         State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name       ____________________________________________________________________

                                                             Phone              ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           ✔


                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49
                                           ✔
                                                                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99                            5,001-10,000                            50,001-100,000
   creditors
                                           100-199                          10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                       $1,000,001-$10 million
                                                                            ✔
                                                                                                                      $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
             Case 23-41838              Doc 1           Filed 09/30/23 Entered 09/30/23 15:56:33                               Desc Main
                                                           Document    Page 4 of 7
             Mordecai N. Klein, M.D., P.A.
Debtor       _______________________________________________________                            Case number (if known)_____________________________________
             Name



                                          $0-$50,000                         $1,000,001-$10 million
                                                                                 ✔
                                                                                                                        $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                             petition.
   debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            09/29/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Mordecai N. Klein
                                             _____________________________________________               Mordecai N. Klein
                                                                                                        _______________________________________________
                                             Signature of authorized representative of debtor           Printed name

                                                    CEO
                                             Title _________________________________________




18. Signature of attorney
                                          /s/ Mark Castillo
                                             _____________________________________________              Date         09/29/2023
                                                                                                                     _________________
                                              Signature of attorney for debtor                                       MM   / DD / YYYY



                                              Mark Castillo
                                             _________________________________________________________________________________________________
                                             Printed name
                                              Carrington, Coleman, Sloman, & Blumenthal, L.L.P.
                                             _________________________________________________________________________________________________
                                             Firm name
                                              901 Main St. Ste. 5500
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              Dallas
                                             ____________________________________________________             TX            75202
                                                                                                            ____________ ______________________________
                                             City                                                           State        ZIP Code

                                              214.855.3000
                                             ____________________________________                              markcastillo@ccsb.com
                                                                                                            __________________________________________
                                             Contact phone                                                  Email address



                                              24027795                                                        TX
                                             ______________________________________________________ ____________
                                             Bar number                                             State




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
Case 23-41838           Doc 1    Filed 09/30/23 Entered 09/30/23 15:56:33              Desc Main
                                    Document    Page 5 of 7



          UNANIMOUS WRITTEN CONSENT IN LIEU OF SPECIAL MEETING
                      OF THE BOARD OF DIRECTORS
                     OF MORDECAI N. KLEIN, M.D., P.A.
                                                         29 2023
                                 Effective Date: September_,


        The undersigned, being all of the members of the board of directors (each, a "Director",
and collectively, the "Board of Directors") of Mordecai N. Klein, M.D., P.A., d/b/a Hannony
Heart Group, a Texas professional association (the "Company"), hereby waive notice of tin1e,
place, and purpose of a special meeting of the Board of Directors an_d hereby declare that when !he
undersigned have signed this Unanimous Written Consent (this "Consent'), the followmg
resolutions shall then be consented to, approved, and adopted to the same extent and with the same
force and effect as if adopted at a special meeting of the Board of Directors duly called and held
for the purpose of acting upon a proposal to adopt such resolutions.

       WHEREAS the Company is unable to meet its obligations as they come due in the usual
course of business and the Company can no longer continue its business profitably;

        WHEREAS the Board of Directors has reviewed the financial condition and circumstances
of the Company and, after careful consideration and thorough consultation, has determined, in
their best business judgment, it is in the best interest of the Company and its respective creditors
and other interested parties to file a voluntary petition (the "Voluntary Petition") for relief under
Chapter 7 of Title 11 of the United States Code (the "Bankruptcy Code") .

       NOW THEREFORE, BE IT RESOLVED, that the Company be, and hereby is,
authorized, empowered, and directed to (i) file the Voluntary Petition for Bankruptcy (the
"Bankruptcy") pursuant to the Bankrnptcy Code with the United States Bankruptcy Court for the
Eastern District of Texas, or with any other appropriate bankrnptcy court with jurisdiction (the
"Bankruptcy Courf') and (ii) perform any and all such acts as the Authorized Officer (as defined
below) detennines to be necessary, required, advisable, or appropriate to effectuate the Bankruptcy
(the "Related Actions");

       RESOLVED, FURTHER, that Mordecai N. Klein, M.D., as President and Chief
Executive Officer of the Company (the "Authorized Officer"), is hereby authorized, empowered,
and directed, for and in the name and on behalf of the Company, to (i) execute, file, and deliver
the Voluntaiy Petition and (ii) perform any and all of the Related Actions;




UNANIMOUS WRIYl'EN CONSENT-
MORDEGI! N. KLEIN, M.D., P.A ,
                                                                                             Page I
Case 23-41838         Doc 1      Filed 09/30/23 Entered 09/30/23 15:56:33               Desc Main
                                    Document    Page 6 of 7



         RESOLVED, FURTHER, that the Authorized Officer is hereby authorized, empowered,
 and directed, for and in the name and on behalf of the Company, to take such further action and to
 execute, deliver, and file (i) such other schedules, statements, disclosures, documents, agreements,
 instruments, verifications, certificates, consents, instructions, and/or other assurances as may be
 necessary, required, advisable, or appropriate to consummate the Bankruptcy and as may be
 contemplated by the Voluntary Petition, and (ii) any supplements, modifications, or amendments
 to the Voluntary Petition as may, in the judgment of the Authorized Officer so acting, be deemed
 necessary, required, advisable, or appropriate in connection with the Bankruptcy in each case, the
 Authorized Officer's execution and delivery thereof to be conclusive evidence of such approval;

         RESOLVED,FURTHER, that, in addition to, and without limiting in any manner, the
 authority granted by the Board of Directors hereunder, the Authorized Officer is hereby authorized,
 empowered, and directed, for and in the name and on behalf of the Company, and with the authority
 to act without any other Director or officer of the Company, to: (i) take, or cause to be taken, all
 such further action; (ii) do and perfom1, or cause to be done and pe1formed, all such acts and
 things; (iii) execute and deliver, or cause to be executed and delivered, all such further documents,
 papers, agreements, instruments, certificates, consents, instructions, and/or other assurances of any
 type or description; and (iv) pay, or cause to be paid, any and all fees, charges, and costs of any
 type or description, all of which as may be necessary or advisable to effect the purposes and intent
 of the actions authorized and approved by the Board of Directors hereunder. The necessity,
 advisability, desirability, and propriety of the foregoing shall be conclusively established and
 evidenced by the actions taken by the Authorized Officer;

        RESOLVED, FURTHER, that all actions of any nature whatsoever heretofore taken by
the Authorized Officer and by each of the Directors, officers, agents, attomeys, and other
representatives of the Company incidental to, contemplated by, arising out of or in connection with
or otherwise relating to the actions authorized and approved by the Board of Directors hereunder
are each hereby authorized, approved, ratified, confinned, and adopted in all respects; and

        RESOLVED, FURTHER, that this Consent may be executed in one or more counterparts
(including by facsimile, email, PDF, or other electronic transmission), each of which will be
deemed an original but all of which together will constitute one and the same instmment.


                                 [SIGNATURE PAGE FOLLOWS]




UNANIMOUS WRllTEN CONSENT•
                                                                                                 Page 2
MORDECAI N. KLEIN, M.D., P.A .
Case 23-41838           Doc 1     Filed 09/30/23 Entered 09/30/23 15:56:33     Desc Main
                                     Document    Page 7 of 7


        IN WITNESS WHEREOF, the undersigned Directors of the Company have executed this
  Consent to be effective as of the Effective Date.


                                          Directors:




 UNANIMOUS WIUITEN CONSENT·
                                                                             Signature Page
 Mordecai N. Klei11. M.D., P.A.

 i 11 33563 7v. l
